                                          UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF OREGON

 In re                                            ) Case No.    19-62584-pcm11
 NORPAC Foods, Inc. [TIN 9330]
                                                  )        LEAD CASE
 Hermiston Foods, LLC [TIN 3927]; and             ) Notice of Motion for Relief
 Quincy Foods, LLC [TIN 7444],                    ) from Automatic Stay in a
                                                  ) Chapter 11/12 Case,
 Debtor(s)                                        ) and Notice of Hearing Thereon

 YOU ARE NOTIFIED THAT:

 1.      A motion was filed by Syngenta Seeds, LLC                                                    for relief
         from the automatic stay protecting the debtor(s) and debtor's property, as provided by 11 U.S.C. § 362.

 2.      The name and address of the moving party's attorney (or moving party, if no attorney) are:
         David Conaway, Shumaker, Loop & Kendrick LLP, 101 S. Tryon Street, Suite 2200, Charlotte, NC
         28280; Tara Schleicher, Foster Garvey P.C., 121 SW Morrison St., 11th Floor, Portland,OR 97204
 3.      If you wish to resist the motion you must, within 14 days of the service date shown below, file a written
         response with the clerk at 1050 SW 6th Ave. #700, Portland OR 97204 or 405 E 8th Ave. #2600, Eugene OR 97401.
         If the response is served in paper, you must also file a certificate showing the response has been served on
         the moving party's attorney.

 4.      A response must state the facts upon which relief from the automatic stay is resisted. See LBF 720.50 for
         details.

 5.      If you file a timely response, a hearing on the motion will be held as follows:

           Date:       11/12/2019                        Time: 2:30 pm

           Location:         Courtroom # 1 , 1050 SW 6th Ave #700, Portland, OR 97204

                             Telephone Hearing [NOTE: See LBF 888, Telephone Hearing Requirements]
                             Call-In Number:            (888) 684-8852
                             Access Code:               4950985 for Judge Trish M. Brown (tmb)
                                                        5870400 for Judge David W. Hercher (dwh)
                                                        1238244 for Judge Peter C. McKittrick (pcm)
                                                        3388495 for Judge Thomas M. Renn (tmr)
                                                        Other

      No testimony will be taken at the hearing. If no timely response is filed, the hearing may be cancelled.
      Parties are encouraged to check the hearing calendar at https://www.orb.uscourts.gov after the response
      deadline has passed.

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 6. If a timely response is not filed, then either:

    a. The court may sign an order without further notice, submitted by the moving party, granting relief
       from the stay; or

    b. The stay will expire under the terms of 11 U.S.C. § 362(e).


 I certify that on     11/11/2019      (1) this notice, (2) LBF 720.50 if this notice was served on paper, (3) LBF
 888 if this notice was served on paper and a telephone hearing will be held, and (4) the motion, were served
 pursuant to Federal Rule of Bankruptcy Procedure (FRBP) 4001 and FRBP 7004 on the debtor(s), U.S. Trustee,
 trustee, members of any committee appointed pursuant to 11 U.S.C. § 1102 or its authorized agent [or, if no
 committee, on all creditors included on the list filed pursuant to FRBP 1007(d)], and their respective attorneys.


                                                                     /s/ David H. Conaway
                                                                        Signature of Moving Party or Attorney




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 4   101 South Tryon Street
     Suite 2200
 5   Charlotte, North Carolina 28280

 6   and

 7   Tara J. Schleicher, OSB #954021
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 8   Foster Garvey P.C.
     Eleventh Floor
 9   121 SW Morrison Street
     Portland, Oregon 97204-3141
10   Telephone: (503) 228-3939
     Facsimile: (503) 226-0259
11

12
                             IN THE UNITED STATES BANKRUPTCY COURT
13
                                      FOR THE DISTRICT OF OREGON
14
     In re                                                  Case No. 19-62584-pcm11
15                                                          LEAD CASE
     NORPAC Foods, Inc. [TIN: 9330],
16   Hermiston Foods, LLC [TIN: 3927], and                  (Jointly Administered with Case Nos.
     Quincy Foods, LLC [TIN: 7444],                         19-33102-pcm11 and 19-33013-pcm11)
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             Debtors.                                       SYNGENTA SEEDS, LLC’S EMERGENCY
18                                                          MOTION FOR RELIEF FROM THE
                                                            AUTOMATIC STAY
19
                                                            EXPEDITED HEARING REQUESTED
20

21           Syngenta Seeds, LLC (“Syngenta”), by and through its undersigned counsel, moves for relief
22   from the automatic stay (“Motion”) in order to exercise its rights and/or remedies under applicable
23   law as to its collateral, including the foreclosure of its liens. In support thereof, Syngenta states as
24   follows:
25           1.     In the months leading to the Debtors’ bankruptcy filing, Syngenta delivered bean, corn
26   and snap pea seed to the Debtors for which Syngenta remains owed at least $1,020,593.32.

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                                                                                eleventh floor
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             FROM STAY                                                           503 228 3939




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 1          2.      Pursuant to Oregon’s statutory Grain Producer’s Lien (O.R.S. 87.750 et seq.), upon

 2   delivery of the seed, Syngenta acquired a lien on all inventory of the Debtors and the proceeds

 3   received by the Debtors from the selling of the inventory.

 4          3.      Syngenta has filed GL-1 Notices of Filing Extension of Grain Producer’s Lien with

 5   the Oregon Secretary of State, which extended Syngenta’s liens with respect to at least $887,902.42

 6   of the unpaid invoices. See O.R.S. 87.762.

 7          4.      On October 18, 2019, Syngenta filed its proofs of claim, assigned Claim Numbers

 8   415, 416, and 417, asserting a secured claim in the amount of $887,902.42.

 9          5.      Throughout the Debtors’ Chapter 11 proceedings, the parties and Court have

10   acknowledged and recognized that the statutory liens of growers and grain producers are senior to

11   CoBank:

12                  i.     On September 13, 2019, the Court entered the Final Order Granting Debtor’s

13          Motion for Authorization to Obtain Secured Credit (the “Final DIP”) [Docket No. 147]

14          providing that the sale proceeds will be distributed: “(ii) second, to CoBank in an amount

15          sufficient to fully repay the outstanding loans and other obligations and amounts owing to

16          CoBank …, provided that all Senior Liens are paid, assumed by the buyer, or otherwise

17          provided for” (emphasis added). Senior Liens are defined in the Final DIP to include

18          Growers Liens, which are defined as “all valid, duly perfected, unavoidable agricultural

19          produce and grain producer liens pursuant to ORS 87.705 and ORS 87.755 and processor and

20          preparer liens pursuant to RCW 60.13.020 and RCW 60.13.030.”

21                  ii.    On September 25, 2019, the Court entered the Bidding Procedures Order

22          approving the form Notice of Motion to Approve Sale of Assets to OPC or Higher and Better

23          Bidder at Auction, Auction, Bidding Procedures, Sale Hearing, and Objection Deadlines (the

24          “Sale Notice”) [Docket No. 203]. The Sale Notice explained that under the Asset Purchase

25          Agreement (“APA”) between Oregon Potato Company (“OPC”) and the Debtors, OPC would

26          take title to assets subject to certain “Permitted Encumbrances” which “include valid


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 1           agricultural liens (which includes agricultural produce and grain producer liens pursuant to

 2           ORS 87.705 and ORS 87.755 and processor and preparer liens pursuant to RCW 60.13.020

 3           and RCW 60.13.030).”

 4                   iii.     On October 29, 2019, the Court’s Order Approving Sale (“Sale Order”)

 5           [Docket No. 317] again provided that the Senior Liens would attach to the sale proceeds and

 6           paid in advance of CoBank or at least that funds sufficient to pay such Senior Liens in full

 7           would be held in escrow until the claims were allowed or disallowed. See Sale Order at ¶ 10.

 8           6.      On November 1, 2019, following the failure to consummate a sale of the Debtors’

 9   assets by October 31, 2019, CoBank filed its Affidavit in Support of Motion for Relief from Stay

10   [Docket No. 327] (“CoBank’s MSR”), requesting relief from stay to pursue all its rights and remedies

11   under applicable law, including, but not limited to, appointing a receiver to administer the collateral

12   of CoBank.

13                                                ARGUMENT

14           7.      If the Court grants CoBank relief from stay, Syngenta should be granted relief from

15   stay as well so that it can protect its senior lien position from any actions that CoBank may take,

16   including permitting Syngenta to commence a foreclosure action if it deems such action necessary to

17   protect its interest in the collateral.

18           8.       Section 362(d) of the Bankruptcy Code states:

19           (d) On request of a party in interest and after notice and a hearing, the court shall grant
20           relief from the stay provided under subsection (a) of this section, such as by
             terminating, annulling, modifying, or conditioning such stay—
21                   (1) for cause, including the lack of adequate protection of an interest in
                     property of such party in interest;
22                   (2) with respect to a stay of an act against property under subsection (a) of this
                     section, if—
23                           (A) the debtor does not have an equity in such property; and
24                           (B) such property is not necessary to an effective reorganization;
             9.      Lack of adequate protection is but one example of “cause” for relief from stay under
25
     section 362(d)(1). “Cause” for granting relief from stay is not defined in the Bankruptcy Code. The
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 1   nonexclusive listing of forms of potential relief (“such as terminating, annulling, modifying, or

 2   conditioning” the stay) underlines the discretion of the court in crafting an order tailored to the

 3   particular circumstances of the case before it.

 4          10.     Here, Syngenta is entitled to relief from stay under 362(d)(1) for cause in order to

 5   protect its liens in any foreclosure, receivership, or liquidation proceeding that CoBank (or any other

 6   secured creditor) may initiate, and to enforce any rights or remedies Syngenta might have under

 7   applicable law.

 8          11.     Syngenta also lacks adequate protection as the Debtors have not provided any

 9   information to confirm that Syngenta’s collateral remains of sufficient value to pay Syngenta’s lien

10   claims in full. See 11 U.S.C. § 362(g) (placing the burden of proof on the party opposing relief from

11   stay on all issues other than the debtor’s equity in the property).

12          12.     Relief from stay is further warranted under § 362(d)(2) because the Debtors have little

13   to no equity in the collateral as evidenced by the Debtors’ financial reports for September 2019

14   [Docket No. 333], and the collateral is not necessary for an effective reorganization because the

15   Debtors do not intend to reorganize.

16          13.     Syngenta requests that relief from stay be effective immediately, and that the Court

17   waive the fourteen day stay provided for under Rule 4002(a)(3) of the Federal Rules of Bankruptcy

18   Procedure.

19          WHEREFORE, Syngenta respectfully requests that the Court grant Syngenta relief from stay

20   and such other and further relief as deemed appropriate for the reasons stated herein. A proposed

21   form of order is attached hereto as Exhibit A.

22          DATED this 11th day of November, 2019.

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                                             By /s/ David H. Conaway
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                                                North Carolina Bar No. 10648
 4
                                                Ronald D. P. Bruckmann, Esq.
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10                                              Local Counsel
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                                             Attorneys for Syngenta Seeds, LLC
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 1                           EXHIBIT A – PROPOSED ORDER

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13
                              IN THE UNITED STATES BANKRUPTCY COURT
14
                                      FOR THE DISTRICT OF OREGON
15
     In re                                                  Case No. 19-62584-pcm11
16                                                          LEAD CASE
     NORPAC Foods, Inc. [TIN: 9330],
17   Hermiston Foods, LLC [TIN: 3927], and                  (Jointly Administered with Case Nos.
     Quincy Foods, LLC [TIN: 7444],                         19-33102-pcm11 and 19-33013-pcm11)
18
             Debtors.                                       ORDER GRANTING SYNGENTA
19                                                          SEEDS, LLC’S EMERGENCY MOTION
                                                            FOR RELIEF FROM THE AUTOMATIC
20                                                          STAY

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22           This matter came before the Court for hearing on Syngenta Seeds, LLC’s Emergency Motion
23
     for Relief from Stay (“Motion”). The Court having considered the Motion, the Court’s records and
24
     files, and arguments of counsel at the hearing, and being fully advised, and finding that the Motion is
25
     well taken, it is therefore
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 1          ORDERED:
 2          1.      The Motion is granted;
 3
            2.      Syngenta is hereby granted relief from the stay imposed by 11 U.S.C. § 362, and
 4
     Syngenta may hereafter pursue all of its rights and remedies at law or in equity, including, without
 5
     limitation, (a) pursuing its rights against the collateral secured by Syngenta’s liens as described in the
 6

 7   Motion including commencing a foreclosure proceeding, and (b) participating in any other

 8   proceedings filed by any other creditor or lienholder against the Debtors or the collateral in state or

 9   federal court; and
10          3.      The provisions of Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure are
11
     hereby waived by the Court.
12
                                                        ###
13
     PRESENTED BY:
14   SHUMAKER, LOOP & KENDRICK, LLP
15
     /s/ David H. Conaway
16   David H. Conaway
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17   Ronald Bruckmann
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     and
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     Foster Garvey P.C.
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 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that on November 11, 2019 I served the foregoing Emergency Motion for

 3   Relief from Stay upon:

 4
           STEPHEN P ARNOT steve.arnot@usdoj.gov
 5         Stephen P. Arnot steve.arnot@usdoj.gov, Amy.Schaffer@usdoj.gov
           NOAH T BARISH nbarish@mbjlaw.com
 6
           TYLER BELLIS tylerb@mcewengisvold.com, nancyn@mcewengisvold.com,
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26         ALEX I POUST apoust@schwabe.com, docket@schwabe.com;ecfpdx@schwabe.com


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                          Case 19-62584-pcm11       Doc 367    Filed 11/11/19
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 5          7866@ecf.pacerpro.com
           TOBIAS TINGLEAF toby@shermlaw.com, darlene@shermlaw.com
 6         US Trustee, Eugene USTPRegion18.EG.ECF@usdoj.gov
           JOSEPH M VANLEUVEN joevanleuven@dwt.com, kathrynferdinand@dwt.com;
 7
            pdxdocket@dwt.com
 8         CAROLYN G. WADE Carolyn.g.wade@doj.state.or.us
           HELEN E. WELLER dallas.bankruptcy@publicans.com
 9         WILLIAM RANDELL WILDER wwilder@bapwild.com
           Noah Scott Warman nwarman@mbjlaw.com
10

11   by the following indicated method or methods on the date set forth below:
12
                    CM/ECF system transmission.
13

14                  E-mail. As required by Local Rule 5.2, any interrogatories, requests for
                    production, or requests for admission were e-mailed in Word or WordPerfect
15                  format, not in PDF, unless otherwise agreed to by the parties.

16                  First-class mail, postage prepaid.
17
            I hereby certify that on November 12, 2019, I shall serve the foregoing Emergency Motion
18
     for Relief from Stay via first class mail upon:
19
     Scott Cargill                      Kate Ellis                       HM Clause, Inc.
20   Lowenstein Sandler LLP             McCaron & Diess                  26 Cousteau Pl, Ste. 210
     One Lowenstein Dr.                 4530 Wisconsin Ave. NW #301      Davis, CA 95618
21
     Roseland, NJ 07068                 Washington, DC 20016
22
     Caleb T. Holzaepfel                International Paper Co.          Christopher M. Kierman
23   Husch Blackwell LLP                6400 Poplar Ave.                 Blakeley LLP
     736 Georgia Ave #300               Memphis, TN 38197                18500 Von Karman Ave #530
24   Chattanooga, TN 37402                                               Irvine, CA 92612
25
26


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 1
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 3   222 N Pacific Coast Hwy 3rd Fl   Palo Alto, CA 94301-1479        701 A. Street NE
     El Segundo, CA 90245                                             Auburn, WA 98002
 4
     Bruce S. Nathan                  Packaging Corporation of        Pension Benefit Guaranty Corp
 5   1251 Avenue of the Americas      America                         1200 K. Street, NW
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 6                                    Lake Forest, IL 60045
 7
     Jeffrey D. Prol                  DENNIS M RYAN                   MICHAEL R. STEWART
 8   Lowenstein Sandler LLP           2200 Wells Fargo Center         2200 Wells Fargo Ctr
     One Lowenstein Drive             90 S Seventh St                 90 S. Seventh St
 9   Roseland, NJ 07068               Minneapolis, MN 55402-3901      Minneapolis, MN 55402-3901
10   SierraConstellation Partners     George Smith                    Syngenta Seeds, LLC
     LLC                              9601 Oakmont Lane               PO Box 18300
11   400 S. Hope St #1050             Stayton, OR 97383               Greensboro, NC 27419
12   Los Angeles, CA 90071

13   Alvarez & Marshal North
     America, LLC
14   425 Market St.
     San Francisco, CA 94150
15

16                DATED this 11th day of November, 2019.

17
                                                   /s/ Ronald D. P. Bruckmann
18                                                 Ronald D. P. Bruckmann
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